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               Exhibit 9
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                   Infringement Claim Chart for U.S. Pat. No. US10491748B1 v. OnePlus
                                              (“Defendant”)
     Claim11                                                       Evidence

11. A method for    The OnePlus customer service platform performs a method for assigning communications.
assigning
communications,     For example, the OnePlus customer service platform assigns incoming calls (including SMS and live chats)
comprising:         to call center agents.




                    Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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receiving a plurality   The OnePlus customer service platform receives multiple respective communications that are to be
of respective           associated with a respective resource selected from multiple resources.
communications for
association with a      For example, the OnePlus customer service platform receives multiple incoming calls (e.g. including phone
respective resource     calls, SMS and live chats) from customers requesting support or information. Each incoming call is to be
selected from a         assigned, by the customer service platform, to a call center agent who can help the customer with the
plurality of            customer’s request.
resources;




                        Source: Contact us (oneplus.com)




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                      Source: Live Chat - OnePlus (custhelp.com)

identifying a         The OnePlus customer service platform identifies multiple resources that are available for association with
plurality of          a respective communication and are capable of handling the respective communication. Each available
resources available   resource has a limited quantitative capacity for association with multiple communications and an




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for association with   availability state.
a respective
communication and      For example, the OnePlus customer service platform uses one or more of interactive voice response (e.g.
capable of handling    language), caller identification (e.g.    user account profile) and customer relationship management
the respective         information to determine the nature of a call and thereby, the required skill of a call center agent to handle
communication,         the call. Based on the required skill set, the customer service platform identifies call center agents (i.e.
each available         resources) who possess the skill set and are therefore capable of handling the call. Those identified agents
resource having a      who are immediately, or will soon be, available to handle the call are deemed by the customer service
limited quantitative   platform to be available to handle the call. Each call center agent is typically handling only one call at any
capacity for           moment but can be assigned to multiple calls that are waiting in a queue, the size of which is dependent
association with       on various factors (e.g. call volume during peak season).
multiple
communications
and an availability
state;




                       Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India




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calculating a          The OnePlus customer service platform calculates a respective score associated with each available
respective score       resource dependent on the availability state of a respective available resource.
associated with
each available         For example, for each available agent, the OnePlus customer service platform determines an estimated
resource dependent     wait time that the caller will remain in a queue or on-hold before the agent can take the call (e.g. to
on the availability    prioritize urgent communications).
state of a
respective available
resource;




                       Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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                       Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India

estimating an          The OnePlus customer service platform estimates an expected economic value to be obtained by
expected economic      associating each respective communication with each respective available resource. The estimated
value to be            economic value is dependent on at least the score and a respective communication-content dependent
obtained by            value function of an outcome of a respective communication associated with a respective available
associating each       resource.
respective
communication          For example, for a given call, the OnePlus customer service platform determines, from the group of
with each              available agents, an appropriate agent for handling the call. This determination is dependent on the
respective available   estimated wait time before the call is routed to the particular agent and how well the requirements of the
resource,              call match the skill profile of the particular agent.
dependent on at
least the score and
a respective
communication-
content dependent
value function of an
outcome of a
respective




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communication
associated with a
respective available
resource; and




                       Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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                       Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India

assigning each of      The OnePlus customer service platform assigns each of the multiple respective communications to one of
the plurality of       the multiple resources based on at least the estimated expected economic value to be obtained by
respective             associating each respective communication with each respective resource.
communications to
one of the plurality   For example, based on the estimated expected economic value by Customer satisfaction (CSAT) survey of
of resources based     Zendesk Omnichannel support, the OnePlus Customer Service system selects a call center agent to handle
on at least the        the call and connects that agent with the caller.
estimated expected
economic value to
be obtained by
associating each
respective
communication
with each
respective
resource.




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Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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